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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

 

Chapter 11
In re:
Case No. 16 -11819 (BLS)

1
ROADHOUSE HOLDING INC. et al., . _
we (Jointly Administered)

Reorganized Debtor.

 

Docket Ref. No. 754

 

FINAL DECREE AND ORDER CLOSING THE REORGANIZED
DEBTOR’S CHAPTER 11 CASE AND TERMINATING
CERTAIN CLAIMS AND NOTICING SERVICES

Upon consideration of the motion (the “Motion”)’ of the Reorganized Debtor for
the entry of a final decree closing the Reorganized Debtor’s chapter 11 case and terminating the
Claims and Noticing Services, both as more fully set forth in the Motion, pursuant to section
350(a) of title 11 of the United States Code (the “Bankruptcy Code”), Rule 3022 of the Federal
Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and Rule 3022-1 of the Local Rules
of Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the District of
Delaware (the “Local Rules”); and it appearing that the Court has jurisdiction over this matter
pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing Order of Reference from the
United States District Court for the District of Delaware dated as of February 29, 2012; and that
due and adequate notice of the Objection having been given under the circumstances; and after
due deliberation and sufficient cause appearing therefor, it is hereby ORDERED:

1. The Motion is GRANTED as set forth herein.

 

The last four digits of the Reorganized Debtor’s federal tax identification number is 5939, and the Reorganized
Debtor’s mailing address is 3011 Armory Drive, Suite 300, Nashville, Tennessee 37204, The chapter 11 cases
of the following affiliates of the Reorganized Debtor were closed effective as of November 23, 2016:
Roadhouse Intermediate Inc. (6159), Roadhouse Midco Inc, (6337); Roadhouse Parent Inc. (5108); LRI
Holdings, Inc. (4571); Logan’s Roadhouse, Inc. (2074); Logan’s Roadhouse of Texas, Inc. (2372); and Logan’s
Roadhouse of Kansas, Inc. (8716).

Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Motion.
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2. The chapter 1! case of Roadhouse Holding Inc., Case No. 16-11819, is
hereby closed.

3. Entry of this Order shall not preclude the Reorganized Debtor (or the other
reorganized Debtors) from contesting the ultimate Allowed amount or an otherwise final
determination of the liabilities underlying the claims that are the subject of the Motion to
Establish Reserves.

4, Entry of this Order is without prejudice to the rights of the Reorganized
Debtor or other parties in interest to seek to reopen any of the Debtors’ chapter 11 cases for
cause pursuant to section 350(b) of the Bankruptcy Code.

5. The Claims and Noticing Services for the Debtors’ chapter 11 cases is
terminated in accordance with the Motion upon the completion of the services listed in paragraph
6 below. Thereafter, DRC shall have no further obligations to this Court, the Reorganized
Debtor, or any other party in interest with respect to the Claims and Noticing Services in the
Debtors’ chapter 11 case.

6. Pursuant to Local Rule 2002-1((ix), within thirty days of entry of a final
decree, DRC shall (a) forward to the Clerk of the Court an electronic version of all imaged
claims, (b) upload the creditor mailing list into CM/ECF, and (c) docket a final claims register in
the lead case containing claims of all cases. DRC shall also box and deliver all original claims to
the Philadelphia Federal Records Center, 14470 Townsend Road, Philadelphia, Pennsylvania
19154 and docket a completed SF-135 Form indicating the accession and location numbers of

the archived claims.
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7. Within thirty (30) days of entry of this Final Decree and Order, the
Reorganized Debtor shall (a) file with the Court and provide to the U.S. Trustee all outstanding
post-confirmation reports, and (b) pay all fees due and payable pursuant to 28 U.S.C. § 1930.

8. The ADR Procedures shall continue to apply to any remaining unresolved
ADR Claims (as defined in the ADR Procedures) and nothing in this Order limits, modifies or
otherwise affects the ADR Procedures including, without limitation, the ADR Injunction (as
defined in the ADR Procedures).

9. Nothing in this Order limits, modifies or otherwise affects any releases or
injunctions in the Plan.

10. By agreement of the Claimant as defined in the pending Request and
Application of National Union Fire Insurance Company of Pittsburgh, Pa. and Certain Other
Affiliates of AIG Property Casualty, Inc. for Allowance and Payment of Administrative Expense
[Docket No. 720] (the “AIG Request”) and the Reorganized Debtors, the AIG Request is deemed
withdrawn, provided that, for the avoidance of doubt, nothing in the Plan or Confirmation Order
or the withdrawal of the AIG Request shall serve as a discharge of the obligations of any of the
Debtors or Reorganized Debtors with respect to the following policies issued by Claimant, and
Roadhouse Holding Inc., as Reorganized Debtor, agrees to pay or cause to be paid the
outstanding premiums for the extension of such policies through February 1, 2018 and any other
amounts that may become due under such policies, in accordance with the terms of the policies

and related insurance agreements for such policies:

 

Policy IO Policy Term
2825 1638-02916328 11/23/2016 - 02/01/2018
24542095-09616328 11/23/2016 - 02/01/2018

 

 

 

 

 

 
 

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11. The Reorganized Debtor and its agents are authorized to take all actions
necessary to effectuate the relief granted pursuant to this Final Decree and Order in accordance
with the Motion.

12. Notwithstanding anything to the contrary, the terms and conditions of this
Final Decree and Order shall be immediately effective and enforceable upon its entry.

13. The Court shall retain jurisdiction to hear and determine all matters arising

from or related to the implementation, interpretation, and/or enforcement of this Final Decree
vat, Wcoradier jf
Dated: , 2017

Wilmington, Delaware Ree g AST on

Brendan Linehan Shannon —
United States Bankruptcy Judge
